Case 1:14-cr-00061-MAC-ZJH           Document 150          Filed 09/11/14   Page 1 of 2 PageID #:
                                            351




                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §      CASE NO. 1:14-CR-61(3)
                                                  §
 SHAWNTA RENE BELL JONES                          §

          ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                      ON DEFENDANT’S GUILTY PLEA

        The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

 Judge, for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal

 Procedure. Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule

 of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea

 Before the United States Magistrate Judge [Clerk’s Doc. #139]. The magistrate judge recommended

 that the Court accept the defendant’s guilty plea and conditionally accept the plea agreement. He

 further recommended that the Court finally adjudge the defendant as guilty on Count One of the

 Indictment filed against the defendant in this cause.

        The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea [Clerk’s Doc. #139] of the United States




                                                -1-
Case 1:14-cr-00061-MAC-ZJH           Document 150      Filed 09/11/14     Page 2 of 2 PageID #:
                                            352



 Magistrate Judge are ADOPTED. The Court defers acceptance of the plea agreement until after

 review of the presentence report.

        It is further ORDERED that, in accordance with the defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the defendant, Shawnta Jones, is hereby adjudged

 as guilty on Count One of the Indictment charging violations of 18 U.S.C. § 1341

        SIGNED this the 11 day of September, 2014.




                                      ____________________________
                                      Thad Heartfield
                                      United States District Judge




                                              -2-
